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10   UNITED STATES OF AMERICA

11                            UNITED STATES DISTRICT COURT

12                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

13   UNITED STATES OF AMERICA,                No. CR 20-127-MWF

14               Plaintiff,                   GOVERNMENT’S OPPOSITION TO
                                              MATERIAL WITNESS ZHIHUI YANG’S
15                    v.                      MOTION FOR VIDEOTAPED DEPOSITION

16   GUAN LEI,                                Hearing Date: 11/9/2020
                                              Hearing Time: 1:30 p.m.
17               Defendant.                   Location:     Courtroom of the
                                                            Hon. Michael W.
18                                                          Fitzgerald

19

20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys George E. Pence and
23   William M. Rollins, hereby files its Opposition to Material Witness
24   Zhihui Yang’s Motion for Videotaped Deposition.
25   //
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 1         This Opposition is based upon the attached memorandum of points

 2   and authorities and exhibits thereto, the files and records in this

 3   case, and such further evidence and argument as the Court may permit.

 4    Dated: October 19, 2020             Respectfully submitted,

 5                                        NICOLA T. HANNA
                                          United States Attorney
 6
                                          CHRISTOPHER D. GRIGG
 7                                        Assistant United States Attorney
                                          Chief, National Security Division
 8

 9                                              /s/
                                          GEORGE E. PENCE
10                                        Assistant United States Attorney

11                                        Attorneys for Plaintiff
                                          UNITED STATES OF AMERICA
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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Zhihui Yang (“YANG”) is a material witness in the above-

 4   captioned case, which the United States brought against her

 5   boyfriend, Guan Lei (“GUAN”), who is charged with Destruction of

 6   Evidence, in violation of 18 U.S.C. § 1519.         Although YANG was

 7   detained at the time she filed her Motion for Videotaped Deposition

 8   (CR 43), she was subsequently released on an appearance bond and

 9   subject to various conditions of release to ensure her appearance at

10   future court proceedings.

11         YANG’s motion should be denied because she is no longer

12   detained, as is required for her to bring her motion.           Moreover,

13   YANG’s motion fails because she has not, and cannot, demonstrate that

14   her release on conditions of bond pending trial is unnecessary to

15   prevent a failure of justice.       Critical issues in this case remain

16   unresolved that will impact the scope and timing of her proposed

17   deposition, such as: whether GUAN’s trial will proceed as scheduled

18   in four weeks, or November 17, 2020; whether it will be a bench or

19   jury trial; who will represent GUAN at that trial and any deposition

20   that may precede it; and what additional relevant discovery, if any,

21   should be disclosed to GUAN by the government.          In light of these

22   unresolved issues, the government requests that the Court deny YANG’s

23   motion without prejudice.      Moreover, as YANG has now been released, a

24   deposition is not only unavailable under Rule 15 but it may also

25   prejudice GUAN’s full exercise of his constitutional due process and

26   confrontation rights.     Any such deposition would be premature as the

27   government continues to produce discovery to GUAN and the parties

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     Case 8:20-cr-00127-MWF Document 50 Filed 10/19/20 Page 4 of 46 Page ID #:401



 1   have yet to file, let alone the Court consider, several critical

 2   pretrial motions.

 3   II.    STATEMENT OF FACTS
 4          A.   Procedural Background
 5          YANG was served on August 21, 2020 with a subpoena to testify in

 6   a federal proceeding in connection with the government’s

 7   investigation of GUAN, who was arrested on August 26, 2020 based on a

 8   criminal Complaint charging him with violating § 1519.           Since that

 9   time, GUAN has been represented by Michael Schachter and Nadine

10   Hettle, both of whom are Deputy Federal Public Defenders (“DFPD”).

11          Despite the requirement that she appear in a federal proceeding,

12   YANG booked a flight from Los Angeles International Airport (“LAX”)

13   to the People’s Republic of China (“PRC”) departing on August 31,

14   2020 at 12:15 a.m.

15          On August 30, 2020, the Honorable Rozella A. Oliver authorized a

16   material witness arrest warrant for YANG.         (CR 8).   Later that

17   evening, the undersigned AUSA contacted YANG’s counsel, informed her

18   of the warrant, and requested that YANG not board a flight to the

19   PRC.   Thereafter, YANG’s counsel, after speaking with YANG, advised

20   AUSA William Rollins that YANG would, in fact, self-surrender the

21   following day.    Despite this assurance, at approximately midnight on

22   August 31, 2020, special agents of the Federal Bureau of

23   Investigation (“FBI”) arrested YANG at LAX, as she was attempting to

24   board a flight to the PRC.

25          On August 31, 2020, on the government’s motion (CR 14), Judge

26   Oliver designated YANG as a material witness pursuant to 18 U.S.C.

27   § 3144 and ordered that YANG be detained, (CR 16).

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 1         On September 10, 2020, a Grand Jury in the Central District of

 2   California returned a one-count Indictment against GUAN, charging him

 3   with the same violation alleged in the Complaint.          (CR 35).

 4         On October 16, 2020, YANG filed an Unopposed Ex Parte

 5   Application for Proposed Order Setting Bond, which reflected terms

 6   that she had agreed upon with the government to ensure her appearance

 7   at GUAN’s trial.     Judge Oliver granted that Application, which

 8   authorized YANG’s release from the Metropolitan Detention Center

 9   subject to certain conditions, including conditions that restrict her

10   travel and provide for home detention and electronic monitoring.               The

11   hearing on YANG’s previously-filed Motion for Videotaped Deposition

12   is scheduled for November 9, 2020, only eight days before GUAN’s

13   trial date of November 17, 2020.       The Government has also subpoenaed

14   YANG to testify at the November 17, 2020 trial.

15         B.   YANG Is a Percipient Witness to GUAN’s Unlawful Conduct
16         As detailed in the affidavit in support of the Complaint, GUAN

17   is a student at the National University of Defense Technology

18   (“NUDT”) in China, an institution affiliated with the PRC’s People’s

19   Liberation Army.     (Ex. A, ¶¶ 10, 12.)     The U.S. Department of

20   Commerce has placed NUDT on its Entity List for non-proliferation

21   reasons related to NUDT’s development of supercomputers believed to

22   be used in nuclear explosive activities using U.S.-origin multicores,

23   boards, and (co)processors.      (Id., ¶ 11); see also 80 Fed. Reg. 8524

24   (Feb. 18, 2015).

25         On August 14, 2018, GUAN completed a J-1 visa application to

26   come to the United States to conduct research on an optimization

27   algorithm and its application in machine learning at the University

28   of California, Los Angeles (“UCLA”). (Ex. A, ¶ 12.)          GUAN thereafter

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 1   flew to the United States on October 17, 2018.          While at UCLA, GUAN

 2   used UCLA’s Graphics Processing Unit machine to complete his

 3   research.   (Id., ¶¶ 15-16.)     After being alerted to the fact that

 4   NUDT was on a United States “black list” (as GUAN referred to it in

 5   an email with the PRC Consulate in Los Angeles), GUAN repeatedly

 6   reached out to the PRC consulate in Los Angeles and the PRC embassy

 7   in Washington, D.C. (Id., ¶ 33.)       GUAN also deleted data from his

 8   phones and computer.     (Id., ¶¶ 37-38.)     Moreover, after an interview

 9   with agents from the FBI, during which GUAN lied about his activities

10   in the United States, GUAN apparently attempted to conceal a

11   destroyed hard drive by surreptitiously placing it in a dumpster near

12   his apartment.      (Id., ¶¶ 44, 52-56.)    He had previously attempted to

13   leave the United States by boarding a flight to the PRC. (Id.,

14   ¶ 45.a.)

15         YANG is a material witness to GUAN’s unlawful conduct because

16   she was with GUAN during these incidents and has firsthand knowledge

17   of the events described in the criminal Complaint.          Specifically:

18              During the period of GUAN’s unlawful conduct, GUAN resided
19               with YANG (who is referred to as “Z.Y.” in the affidavit in

20               support of the Complaint) in an Irvine, California

21               apartment.    (Ex. A, ¶ 15.)    YANG is GUAN’s girlfriend, a

22               citizen of the PRC, and was also in the United States

23               pursuant to a J-1 visa until that visa expired in September

24               2020.

25              Lyft receipts show that on July 8, 2020, YANG traveled from
26               that apartment to a street address across from the PRC

27               Consulate in Los Angeles.       (Id., ¶¶ 48-49.)    Throughout

28               July and August 2020, FBI employees saw GUAN and YANG

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 1                  repeatedly share what appeared to be rideshare cars, and

 2                  GUAN has admitted traveling to the PRC consulate in early

 3                  July 2020. (Id. ¶ 50.)

 4                 On July 25, 2020, FBI employees saw YANG standing lookout
 5                  while GUAN disposed of a damaged 2.5-inch internal hard

 6                  drive in a dumpster near the apartment.       (Id. ¶ 52.)

 7                 Google records show that YANG received an email from a
 8                  vendor on Amazon indicating that sometime before July 15,

 9                  2020, she purchased a 2.5-inch internal hard drive – the

10                  same type of hard drive that is currently installed in one

11                  of GUAN’s computers, a Lenovo L450, which was seized by

12                  FBI. (Id., ¶ 56.)

13                 According to an FBI laboratory report, male and female DNA
14                  were found on the Lenovo L450, and there is “very strong

15                  support” to include both GUAN and YANG as contributors of

16                  DNA to the Lenovo L450. (Id., ¶ 57.)

17                 During the July 30, 2020 execution of a search warrant at
18                  the Irvine apartment, FBI special agents discovered five

19                  digital devices containing storage drives in the bedroom

20                  shared by GUAN and YANG.       (Id., ¶ 42.)

21         C.       Status of Discovery
22         The government has provided voluminous discovery to GUAN,

23   including recordings, forensic images of electronic devices, and

24   documents bates numbered GUAN_00000001 through GUAN_00002766.

25         On October 19, 2020, the Government filed a Notice in this case

26   indicating that, in addition to the discovery already produced, the

27   government anticipates that it may need to bring to the Court’s

28   attention certain discovery issues or other matters relating to

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 1   classified material, and to do so, it would need to proceed under the

 2   Classified Information Procedures Act, 18 U.S.C. App. III (“CIPA”).

 3          On October 8 and again on October 16, 2020, attorney Harland

 4   Braun sent emails to the United States Attorney’s Office for the

 5   Central District of California, which are attached hereto as

 6   Exhibit B.    Those emails state that GUAN’s family retained Mr. Braun

 7   to represent GUAN, that the U.S. Bureau of Prisons has restricted Mr.

 8   Braun’s access to his prospective client, and that Mr. Braun doubted

 9   that the government could “take an admissible deposition of Ms. Zang

10   (sic) while the issue of the representation of Mr. Guan is left

11   unresolved.”

12   III.   GOVERNING LEGAL STANDARD
13          Section 3144 governs the release or detention of a material

14   witness.   “It permits a judicial officer to order the arrest of a

15   material witness to a criminal proceeding ‘if it is shown that it may

16   become impracticable to secure the presence of the person by

17   subpoena . . . .’”     In re Material Witness Summons in re Motor Tanker

18   Zao Galaxy, No. 19-XR-90626-KAW-1, 2019 WL 4221727, at *2 (N.D. Cal.

19   Sept. 5, 2019) (quoting 18 U.S.C. § 3144).         The Court may order the

20   deposition be taken of a material witness “detained” pursuant to

21   § 3144, and may discharge the witness after the witness has signed

22   under oath the deposition transcript.        Fed. R. Crim. P. 15(a)(2).

23   “[A] court need not contemporaneously order automatic and immediate

24   release” of the material witness after her Rule 15(a)(2) deposition

25   and may require the issue of continued detention be raised by

26   separate motion.     United States v. Lai Fa Chen, 214 F.R.D. 578, 582

27   (N.D. Cal. 2003).

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 1         Read together, Rule 15(a) and § 3144 provide a detained
           witness with a mechanism for securing his own release. He
 2         must file a ‘written motion,’ Fed. R. Crim. P. 15(a),
           requesting that he be deposed. The motion must demonstrate
 3         that his “testimony can adequately be secured by
           deposition,’ and that ‘further detention is not necessary
 4         to prevent a failure of justice.’ 18 U.S.C. § 3144. Upon
           such a showing, the district court must order his
 5         deposition and prompt release. Id.
 6   Torres-Ruiz v. U.S. Dist. Court for S. Dist. of California, 120 F.3d

 7   933, 935 (9th Cir. 1997) (per curiam) (emphasis in original) (quoting

 8   Aguilar-Ayala v. Ruiz, 973 F.2d 411, 413 (5th Cir. 1992)).

 9   IV.   ARGUMENT
10         A.    YANG Cannot Bring a Rule 15(a)(2) Motion Because She is Not
                 Detained
11

12         Only a material witness “detained” pursuant to § 3144 may

13   request to be deposed under Rule 15(a)(2).         Although neither § 3144

14   nor Rule 15(a)(2) define that term, its meaning may be determined in

15   light of other statutes on the same subject matter.          See Erlenbaugh

16   v. United States, 409 U.S. 239, 243 (1972).         “[S]tatutes addressing

17   the same subject matter should be construed in pari materia.            Under

18   that doctrine, related statutes should be construed as if they were

19   one law.”   California v. Trump, 963 F.3d 926, 947 n.15 (9th Cir.

20   2020) (internal citations and quotations marks omitted).           “The rule

21   of in pari materia — like any canon of statutory construction — is a

22   reflection of practical experience in the interpretation of statutes:

23   a legislative body generally uses a particular word with a consistent

24   meaning in a given context.”       Erlenbaugh, 409 U.S. at 243; see also

25   United States v. Williams, 553 U.S. 285, 294 (2008) (“[T]he

26   commonsense canon of noscitur a sociis . . . counsels that a word is
27   given more precise content by the neighboring words with which it is

28   associated.”).

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 1         Here, the term “detained” in Rule 15(a)(2) should be interpreted

 2   in light of Congress’s use of same term in 18 U.S.C. §§ 3144

 3   and 3142.    Section 3144, which Rule 15(a)(2) cross-references,

 4   expressly distinguishes between “detention” and “release” of a

 5   witness:

 6         No material witness may be detained because of inability to
           comply with any condition of release if the testimony of
 7         such witness can adequately be secured by deposition, and
           if further detention is not necessary to prevent a failure
 8         of justice. Release of a material witness may be delayed
           for a reasonable period of time until the deposition of the
 9         witness can be taken pursuant to the Federal Rules of
           Criminal Procedure.
10

11   18 U.S.C. § 3144 (emphasis added).

12         While neither § 3144 nor § 3142, which § 3144 cross-references,

13   defines “detained,” it is clear from context that the term signifies

14   incarceration in a corrections facility.         Like § 3144, § 3142 plainly

15   distinguishes between “release” (such as on a personal recognizance

16   bond, upon execution of an unsecured appearance bond, or subject to a

17   condition or combination of conditions), on the one hand, and

18   “detention” (both permanent and temporary), on the other.            Compare

19   18 U.S.C. § 3142(a)(1)-(2) with § 3142(a)(3)-(4).          Moreover, § 3142

20   requires that a “detention order” must “direct that the person be

21   committed to the custody of the Attorney General for confinement in a

22   corrections facility separate, to the extent practicable, from

23   persons awaiting or serving sentences or being held in custody

24   pending appeal.”     Id. at § 3142(i)(2).      Thus, the statutory scheme

25   plainly contemplates that release, even subject to travel

26   restrictions, is categorically different than detention.            That

27   distinction should control the Court’s interpretation of Rule

28   15(a)(2) because that rule relates to the same subject matter.

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 1         Because YANG is no longer confined in a corrections facility,

 2   she is not “detained” within the meaning of Rule 15(a)(2) and

 3   therefore cannot bring a motion under that rule seeking an order

 4   authorizing her deposition.1

 5         B.     A Premature Deposition of a Percipient Witness who has been
                  Released Pending Trial May Unnecessarily Prejudice GUAN,
 6                Thus Giving Rise to a Failure of Justice
 7         Depositions in a criminal case are authorized only where they

 8   are consistent with a defendant’s constitutional rights.            See Fed. R.

 9   Crim. P. 15.     “Where testimonial evidence is at issue . . . the Sixth

10   Amendment requires the unavailability of the witness and a prior

11   opportunity for cross-examination.”          Crawford. v. Washington,

12   541 U.S. 36, 68 (2004).      “In order to provide an adequate opportunity

13   for cross-examination, the Defendant must have full access to

14   relevant discovery before any deposition is taken which may be used

15   at trial.”    United States v. Guzman-Torres, No. 09CR3772 WQH, 2010 WL

16   3521973, at *3 (S.D. Cal. Sept. 7, 2010)         (granting motion to deny

17   material witness depositions where the charges defendant faced were

18   “significant” and involved “extensive discovery,” a “firm trial date”

19   was fast approaching, and the witness’s testimony was central to the

20   case).     Otherwise, an order setting a material witness deposition may

21   result in a failure of justice.        Id.

22         As of the date of this filing, there is substantial uncertainty

23   as to who will represent GUAN at YANG’s proposed deposition, much

24   less whether that attorney will be prepared to defend GUAN’s

25   interests at that deposition after having reviewed all of the

26

27         1But see In re Material Witness Summons in re Motor Tanker Zao
     Galaxy, 2019 WL 4221727, at *3 (holding, without conducting a textual
28   analysis of the rule, that a Rule 15(a)(2) petitioner was
     “functionally detained” when his freedom to travel was restricted).
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 1   relevant discovery.      Without question, the issue of GUAN’s

 2   representation should be resolved as a precondition to the issuance

 3   of any order setting YANG’s deposition.         Moreover, in light of the

 4   Government’s Notice pursuant to § 2 of CIPA, it also makes practical

 5   sense not to conduct any such deposition at least until after CIPA

 6   proceedings are complete, in the event such proceedings may be

 7   necessary.

 8         Finally, due to the Court’s protocols related to the COVID-19

 9   pandemic, the government does not anticipate that a jury trial can or

10   should proceed on November 17, 2020.         However, DFPD Schachter has

11   informed the undersigned that GUAN may waive his right to a jury

12   trial.    The Court has not determined whether a bench trial could

13   safely proceed on November 17, and the undersigned is not aware of

14   any similar bench trial occurring in the Central District of

15   California after jury trials were suspended in March 2020.            In any

16   event, were the Court to authorize a bench trial and schedule it for

17   November 17, the interests of justice would best be served by

18   requiring YANG’s live testimony at trial, especially in light of the

19   significant challenges posed by scheduling YANG’s safe deposition on

20   short notice during the current pandemic and the relatively minor

21   inconvenience to her of remaining under pre-trial supervision at

22   least until that trial, which is estimated to last four days, is

23   finished.    Should GUAN’s trial be rescheduled, YANG can always re-

24   apply to the Court for an order that her deposition be taken.

25   //

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 1   V.    CONCLUSION
 2         For the foregoing reasons, the government respectfully requests

 3   that this Court deny without prejudice YANG’s Motion for Videotaped

 4   Deposition.

 5    Dated: October 19, 2020              Respectfully submitted,

 6                                         NICOLA T. HANNA
                                           United States Attorney
 7
                                           CHRISTOPHER D. GRIGG
 8                                         Assistant United States Attorney
                                           Chief, National Security Division
 9

10                                               /s/
                                           GEORGE E. PENCE
11                                         Assistant United States Attorney

12                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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                      EXHIBIT A
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                                                          for the                                                08/26/2020
            DM
  CENTRAL DISTRICT OF CALIFORNIA
    BY: ___________________ DEPUTY
                                               Central District of California                              CENTRAL DISTRICT OF CALIFORNIA
                                                                                                              BY: ___________________ DEPUTY


 United States of America

                         v.
                                                                    Case No. 2:20-mj-04071
 GUAN LEI,

                         Defendant(s)


                                      CRIMINAL COMPLAINT BY TELEPHONE
                                     OR OTHER RELIABLE ELECTRONIC MEANS

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 25, 2020 in Orange County, in the Central District of California, the defendant(s)

violated:

              Code Section                                          Offense Description

              18 U.S.C. § 1519                                      Destruction of Evidence

          This criminal complaint is based on these facts:

            Please see attached affidavit.

           Continued on the attached sheet.


                                                                                      /S/
                                                                                 Complainant’s signature

                                                                          Timothy D. Hurt, FBI Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:                      08/26/2020
                                                                                      Judge’s signature

 City and state: Los Angeles, California                             Hon. Rozella A. Oliver, U.S. Magistrate Judge
                                                                                  Printed name and title
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                                   AFFIDAVIT

I, TIMOTHY D. HURT, being duly sworn, declare and state as

follows:

                              I.    INTRODUCTION
      1.     I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since 2016.                I

am currently assigned to the Los Angeles Field Office.               I have

been involved in investigating, among other violations, visa

fraud, the destruction of evidence, conspiracy, the theft of

trade secrets, the illegal export of dual-use items (meaning

items that have both military and commercial applications) and

strategic technology commodities from the United States, and the

illegal export of defense articles and other technology.               I

attended 21 weeks of New Agent Training at the FBI Academy in

Quantico, Virginia.       I have also received training in

identifying the techniques, methods, and procedures used by

foreign governments, groups, organizations, companies, and

individuals to engage in visa fraud, destroy evidence, and

attempt to export items and information in violation of United

States export laws.       As an FBI agent, I have also received both

formal and informal training concerning foreign militaries and

their organization, to include the People’s Liberation Army

(“PLA”) of the People’s Republic of China (“PRC”), as well as

training in the examination of digital devices and digital

device networks.      Before joining the FBI, I collectively served

for four years in the United States Air Force and United States

Air Force National Guard.


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                         II.   PURPOSE OF AFFIDAVIT
      2.     This affidavit is made in support of a criminal

complaint against GUAN LEI (“GUAN”) for a violation of 18 U.S.C.

§ 1519 (Destruction of Evidence).

      3.     The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from other agents, witnesses, and open-

source online resources.        This affidavit is intended to show

merely that there is sufficient probable cause for the requested

warrant and does not purport to set forth all of my knowledge of

or investigation into this matter.          Unless specifically

indicated otherwise, all conversations and statements described

in this affidavit are related in substance and in part only and

all dates and times are approximate.

                      III. SUMMARY OF PROBABLE CAUSE
      4.     In July of 2020, the FBI began investigating GUAN in

connection with visa fraud and the possible transfer of

sensitive software or technical data from the University of

California, Los Angeles (“UCLA”) to high-ranking PRC military

officers and the PRC’s National University of Defense Technology

(“NUDT”), an entity suspected of procuring U.S.-origin items to

develop supercomputers with nuclear explosive applications.

      5.     During the federal investigation, GUAN – an NUDT

student from the PRC conducting research at UCLA on a J-1 visa 1 -

      1Based on my review of the U.S. Citizenship and Immigration
Services website, I know that a J-1 classification (exchange
visitors) is authorized for those who intend to participate in
an approved program for the purpose of teaching, instructing or
lecturing, studying, observing, conducting research, consulting,


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appears to have deliberately concealed digital storage drives

from the FBI, falsely told U.S. Customs and Border Protection

(“CBP”) officers that he never contacted the PRC consulate while

in the United States, and, several days after refusing the FBI’s

request to conduct an offsite search of his laptop, walked

circuitously around his apartment building, reached into his

sock, and threw a destroyed hard drive into a trash dumpster

nearby.    As detailed further below:

             a.    GUAN was a student at NUDT and originally came to

Los Angeles to work as a researcher in UCLA’s Department of

Mathematics in 2018.       On his student visa application, GUAN

stated under oath that he never previously served in the

military.     When later questioned about serving in the PLA,

however, GUAN told FBI personnel that he previously wore Chinese

military uniforms and participated in military training (but

continued to claim that he had not served in the military).

GUAN also acknowledged that his faculty supervisors at NUDT were

high-ranking Chinese military officers.

             b.    During an FBI interview on July 17, 2020, FBI
personnel warned GUAN that he could not lie to federal law

enforcement officers, and the FBI asked GUAN a series of

questions about his visa application, NUDT, his potential

affiliation with the PLA, his work at UCLA, as well as his



demonstrating special skills, receiving training, or to receive
graduate medical education or training. See
https://www.uscis.gov/working-in-the-united-states/students-and-
exchange-visitors/exchange-visitors (last accessed Aug. 24,
2020).


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computer, hard drives, and cell phones.           In response to FBI

questioning, GUAN indicated that apart from a Lenovo laptop, his

iPhone, and his Huawei phone, he did not have any other hard

drives or digital storage devices.          On July 18, 2020, when asked

specifically by FBI personnel whether he had any storage drives

“anywhere else,” GUAN responded “no[.]”           GUAN consented to an

on-site search of his laptop, but when the FBI asked for

permission to take the laptop with them to conduct the search

and bring it back the next day, GUAN refused.

              c.   Two days later, on July 19, GUAN attempted to

board a flight from Los Angeles International Airport (“LAX”) to

China.      CBP officers once again asked GUAN questions about the

PLA, NUDT, and his electronic devices, including his laptop and

his cell phone, and Homeland Security agents later informed GUAN

that multiple federal agencies were interested in him.               When

asked by CBP whether GUAN ever had “contact” with “anyone” from

the Chinese consulate during his stay in the United States, GUAN

responded that he had not.

      6.      As detailed further below, GUAN’s representations to
federal law enforcement officers were false.            Contrary to what

GUAN told CBP officers on July 19, Google records show that GUAN

repeatedly emailed the Chinese consulate throughout June and

July.      Moreover, GUAN destroyed evidence:        On July 25, several

days after GUAN lied to CBP officers and attempted to board a

flight from Los Angeles to Xiamen, FBI employees witnessed GUAN

throw an item in the trash dumpster outside his apartment that,

upon further investigation, was a destroyed hard drive.


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                             IV.   STATUTORY BACKGROND

      A.        Destruction of Evidence

      7.        Title 18, United States Code, Section 1519 provides:


      Whoever knowingly alters, destroys, mutilates, conceals,
      covers up, falsifies, or makes a false entry in any record,
      document, or tangible object with the intent to impede,
      obstruct, or influence the investigation or proper
      administration of any matter within the jurisdiction of any
      department or agency of the United States or any case filed
      under title 11, or in relation to or contemplation of any
      such matter or case, shall be fined under this title,
      imprisoned not more than 20 years, or both.

           V.        BACKGROUND ON THE CHINESE SCHOLARSHIP COUNCIL
      8.        Based on my training and experience and my review of

U.S. State Department and media reports, I know the following:

                a.     The Chinese government established the Chinese

Scholarship Council (“CSC”) in 1996 as a non-profit institution

affiliated with the PRC's Ministry of Education.

                b.     The CSC is responsible for the enrollment and

administration of Chinese Government Scholarship programs and

provides funding for both undergraduate and graduate students,

as well as post-doctoral visiting scholars, to Chinese citizens

wishing to study abroad and to foreign citizens wishing to study

in China.        CSC is financed mainly by the state’s special

appropriations or scholarship programs.

      9.        According to the U.S. Department of State, 2 the Chinese

Communist Party (“CCP”) exploits the open and transparent nature



      2https://www.state.gov/military-civil-fusion/ (last
accessed Aug. 24, 2020).


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of academic research institutions in the United States to

bolster China’s own military capabilities through bodies like

the CSC, which requires academic scholarship recipients to

report their overseas research to PRC diplomats.

       VI.     CHINA’S NATIONAL UNIVERSITY OF DEFENSE TECHNOLOGY
       10.     Based on my training and experience, I know that the

PLA is the military arm of the CCP and the armed forces of the

PRC.       One of three schools the PLA uses to formulate military

strategy, conduct research, and advance its military

capabilities is the NUDT.

       11.     According to the Federal Register, NUDT was placed on

the U.S. Department of Commerce’s Entity List for nuclear

nonproliferation reasons related to the use of NUDT’s Tianhe 1 &

2 supercomputers. 3     According to the Federal Register, “NUDT has

used U.S.-origin multicores, boards, and (co)processors to

produce the TianHe-1A and TianHe-2 supercomputers located at the

National Supercomputing Centers in Changsha, Guangzhou, and

Tianjin,” and “[t]he TianHe-1A and TianHe-2 supercomputers are

believed to be used in nuclear explosive activities as described




       3
       The U.S. Department of Commerce, Bureau of Industry and
Security publishes the names of certain foreign persons –
including businesses, research institutions, government and
private organizations, individuals, and other types of legal
persons - that are subject to specific license requirements for
the export, reexport and/or transfer (in-country) of specified
items. These persons comprise the Entity List, which is found
at Supplement No. 4 to Part 744 of the Export Administration
Regulations (“EAR”). The persons on the Entity List are subject
to individual licensing requirements and policies supplemental
to those found elsewhere in the EAR.


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in § 744.2(a) of the [Export Administration Regulations

(“EAR”)].”     See 80 Fed. Reg. 8524 (February 18, 2015).

                    VII. STATEMENT OF PROBABLE CAUSE

      A.     GUAN Denies Serving in the Chinese Military on His
             2018 Visa Application

      12.    Based on my review of U.S. Department of State

records, I know that GUAN completed a digital J-1 U.S. visa

application on August 14, 2018.          In his visa application, GUAN

stated that he was a student at NUDT in the PRC and claimed that

he was applying for a U.S. visa in order study at UCLA’s

Department of Mathematics, and to collaborate with UCLA

Professor 1 4 on an optimization algorithm and its application in
machine learning.       GUAN denied ever having served in the

military, and he denied seeking to engage in espionage,

sabotage, export control violations, or any other illegal

activity while in the United States.

      13.    The visa application required GUAN to digitally

certify that he had completed the application himself, that he

read and understood the questions in the application, and the

answers were true and correct to the best of his knowledge and

belief.     The application warned that all of GUAN’s declarations

were made under the penalty of perjury.

      14.    By clicking “Sign and Submit Application,” GUAN

certified that he understood that any willfully false or


      4The FBI knows the identity of and interviewed UCLA
Professor 1, but his name is concealed here to protect his
identity.


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misleading statement or willful concealment of a material fact

within the application could subject him to permanent exclusion

from the United States, as well as criminal prosecution and/or

deportation.

      B.     GUAN Admits to Wearing a Military Uniform and
             Acknowledges that His Supervisors at NUDT are Senior
             Chinese Military Officials

      15.    On July 17, 2020, GUAN agreed to a voluntary interview

with FBI personnel at an apartment GUAN shared with his

girlfriend, Z.Y., and their roommate, M.Z., in Irvine.               During

the interview, GUAN told me that between 2018 and 2020, he

conducted research at UCLA’s Department of Mathematics.

According to GUAN, his advisor at UCLA was UCLA Professor 1, and

GUAN used UCLA’s Graphics Processing Unit (“GPU”) machine to

complete research on deep neural networks in a pipeline fashion,

otherwise described as the simultaneous use of multiple GPU

machines working together to increase efficiency.

      16.    GUAN stated that UCLA Professor 1 (who later told the

FBI he was not alarmed by GUAN’s activities and could not think

of military or proprietary applications GUAN might have

unlawfully accessed at UCLA) left UCLA to work for a Chinese

multinational technology company about “six months” after GUAN

arrived in the United States (i.e. sometime in 2019).              GUAN also

stated that he (GUAN) could access the UCLA GPU machine

remotely.

      17.    I know based on my training and experience, as well as

online electronics and academic publications, that GPU machines



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have both military and non-military applications.           For example,

according to an online publication issued by Military &

Aerospace Electronics, 5 GPU advancements are used in

intelligence, surveillance, and reconnaissance applications,

such as wide-area persistent surveillance, hyperspectral sensor

fusion, improvised-explosive device detection, and synthetic

aperture radar processing.       According to a research paper from

Iowa State University, GPU technology can also be used to

validate the effectiveness of hypervelocity kinetic impact and

nuclear subsurface explosions. 6       GPU technology also has a

variety of civilian uses, ranging from videogames to astronomy

to medical imaging.

      18.    During my July 17 interview with GUAN, he claimed that

there were two types of students at NUDT:          “normal” students,

and students who had to “obey” certain types of

“arrangement[s].” 7    When asked if he had to listen to

instructions or orders, GUAN responded with, “No, we are two

different types of people.”       GUAN claimed he was a normal

student, that some other students had to wear uniforms, but GUAN


      5See

https://www.militaryaerospace.com/computers/article/14034425/emb
edded-computer-graphics-processing-unit-gpu-sensor-processing.
      6See GPU-Accelerated Computational Tool Development For
Studying the Effectiveness of Nuclear Subsurface Explosions” and
https://iaaspace.org/wp-
content/uploads/iaa/Scientific%20Activity/conf/pdc2015/IAA-PDC-
15-03-15.pdf
      7Quotation marks reflect the written verbatim translations
of GUAN’s statements prepared by an FBI linguist in a draft
transcript.


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wore plain clothes.      I understood GUAN to mean that there were

two types of students at NUDT:        civilian and military.

      19.    GUAN said he was usually separated from students who

wore military uniforms, and that he didn’t know if the uniforms

were hot because he wore plainclothes.         GUAN claimed he didn’t

know if his professors were military or common people, but also

said that some wore military uniforms and some were common

people.

      20.   Later in the interview, GUAN told agents that his

academic advisor at NUDT was X.L. and that he met X.L. no more

than five times.     According to GUAN, X.L. was GUAN’s advisor “by

name only,” but GUAN’s real advisor was D.L.          GUAN stated that

he had never seen X.L. in military uniform and was unsure

whether X.L. wore military uniform.

      21.   When asked if D.L. had worn a military uniform, GUAN

responded “probably, I have seen him wear it a couple times.”

GUAN attempted to clarify by saying, “I guess he is, but I am

not sure if he is military or not.”         GUAN stated he “didn’t pay

attention” to whether or not D.L.’s uniform had ribbons or rank,
but sometimes professors had a 5-point star on their shoulder.

GUAN thought they “probably” had military rank.

      22.   At this point in the interview, I warned GUAN that he

“cannot lie to a federal law enforcement officer.” 8          After the

admonishment, GUAN stated “I told you what I know.”

      8According to the draft verbatim translation, the FBI
linguist translated my warning as, “[h]e forgot to tell you
earlier, usually before we started talking, he should have told
you that you cannot lie to a federal law enforcement officer.”


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      23.   GUAN also said he did not want to join the military.

When GUAN was asked if he was a member of the “cadre,” GUAN

replied that he was just a “normal student,” and asked if people

wearing “green clothes” were “cadre.” 9

      24.   Despite initially telling FBI agents that he never

wore a military uniform, GUAN later changed his response.             In

particular, when asked twice if photos could be found on the

Internet of GUAN in military uniform, GUAN responded “probably

not” both times and then said that he was “nervous.”            After

again claiming that the FBI “probably” would not find online

photographs of GUAN in military uniform, GUAN ultimately

admitted that he did in fact wear a military uniform when he
first entered NUDT for “military training.”

      25.   GUAN told agents that, at NUDT, he wore a uniform

during military training consisting of “green clothes” with

“patterns” for about the first month of school and did a lot of

walking, running, and standing. 10

      26.   When I asked GUAN if he no longer had to wear a

military uniform after the first 15 days of school, GUAN

initially said “correct.”       Later, however, GUAN claimed that he

sometimes did wear a military uniform but that the question was

hard to answer because he had been in the U.S. for almost two

years and he couldn’t “remember clearly.”          GUAN claimed he wore


      9Based on my training and experience, I know that Civilian
Cadre are uniformed PLA personnel in technical positions.
      10
       Based on my training and experience, I know that the
types of activities apparently required of GUAN are consistent
with basic military training.


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a uniform rarely, such as on holidays like the China National

Holiday.     But GUAN indicated that August 1 (PLA Day), 11 did not

seem to be celebrated “much” at NUDT.

      27.   According to GUAN, he did not “pay attention” to the

uniform but described it as being green and stated they “all

have lines” on the shoulder and no stars, “they are the same,

not much difference” than military.         Stars were for older

personnel.

      28.   When presented with several photos of GUAN’s academic

advisor – X.L. - in PLA military uniform, including the ones

below, GUAN immediately recognized X.L.: 12




      29.   GUAN initially said he thought the stars on X.L.’s

uniform were his rank, but said he wasn’t sure what rank

exactly.    GUAN then said he “guess[ed]” the two stars on X.L.’s

shoulder meant X.L. was a General.         GUAN said again the stars on


     11 Based on my training and experience, as well as numerous
open source web articles (e.g.
https://www.chinadaily.com.cn/a/201908/01/WS5d42722ba310cf3e3556
355f.html), I know that the founding of the People’s Liberation
Army is celebrated annually on August 1st.
     12 Multiple websites in China depict X.L. in PLA uniform.
See, e.g., http://szb.jingjiang.gov.cn/art/2012/10/
15_9765_285107.html from 2012, and www.gxbbs.cc/wap/4389-1.html
from 2019 (accessed July 22, 2020)


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X.L.’s shoulder “should be General.”         He then was more specific

and revealed he understood it to be either Lieutenant General or

Major General, also referred to as “middle” General.

      30.     GUAN stated again that X.L. was not his real advisor,

that his real advisor was D.L. (who, as noted above, GUAN had

already reported “probably” wore a military uniform).            X.L., he

explained, was retired.

      31.     According to an archived version of an apparent NUDT

alumni website preserved by the Internet Archive, X.L. is an

academic at the Chinese Academy of Engineering and an expert in

computer science. 13    X.L. was a researcher of the Galaxy series

of giant computers made by NUDT.          X.L. has been with NUDT since

1965 and was the president of NUDT’s Institute of Computers.             In

2006, X.L. became PLA General Armament Department’s Science &

Technology Committee deputy director.         X.L. is a lieutenant

general in the PLA and was in charge of successful development

of the Galaxy II high speed internet software system.            According

to the same website, the Galaxy computers have been used in PLA

General Staff Department, PLA General Armament Department, Air

Force, military weather forecasts, and nuclear technology.




      13The
          Internet Archive is a digital library that provides
public access to archives of Internet websites, which the
library makes accessible through an online portal called the
“Wayback Machine.” The archived website related to LU is
located at the following address:
https://web.archive.org/web/20120722171731/http://www.lovenudt.c
om/detail.asp?fileid=136.


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      C.      GUAN Conceals His Knowledge of U.S. Government
              Restrictions on NUDT from the FBI

      32.     I also asked GUAN whether he knew that the United

States had “denied” NUDT, and whether he knew it was on a U.S.

Department of Commerce “list.”        According to a draft verbatim

translation of this portion of the interview, the FBI Linguist

translated my question to GUAN as whether he knew that NUDT was

“embargoed” by the U.S., meaning whether GUAN knew that it was

“prohibit[ed] to sell” items to NUDT.         GUAN responded that he

was not aware of any such prohibition, and said that he did not

follow the U.S. news.      Additionally, GUAN said, “I really don’t

know much about it” and stated he did not “pay much attention to

these.”      GUAN suggested that I search the internet to find out

whether NUDT was embargoed.

      33.     The month before my interview with GUAN, however,

emails obtained from Google pursuant to a federal search warrant

show that, in fact, GUAN knew NUDT was on a United States “black

list.”      In particular, in an email dated June 18, 2020, GUAN

specifically asked the Chinese consulate in Los Angeles about

flights back to the PRC given that “[GUAN’s] university in

China” had been placed on the “so called black list” by the

United States and that GUAN’s DS-2019 (the Certificate of

Eligibility for an Exchange Visitor (J-1) Status) was about to

expire.

      34.     The email address at which GUAN contacted the PRC

Consulate in L.A. was “educationsection@gmail.com.”            In response

to GUAN’s inquiry, consular employees referred GUAN to the



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Office of Consular Protection and used a signature line that

stated in English, “Consulate General of the People’s Republic

of China in Los Angeles, 433 Shatto Place, Los Angeles, CA

90020.”

      D.    GUAN Denies Having Additional Digital Storage Drives
            in His Apartment

      35.   During my interview, I also asked GUAN whether the PRC

Consulate ever talked to him about WANG XIN’s (“WANG”) arrest

and whether GUAN was worried about being in the same situation.

(Agent’s note:     On June 11, 2020 WANG was arrested at LAX on

charges that he falsely stated on his visa application he was no

longer a PLA officer; in fact, WANG allegedly remained a “Level

9” technician in the PLA, employed by a military university lab,

at the time he came to study at the University of California –

San Francisco).

      36.   In response to my question, GUAN asked “[w]hy would

they talk to me about this” and said that he read about WANG’s

arrest online.     GUAN indicated that he (GUAN) “[s]houldn’t be”

worried; “isn’t he [WANG] a soldier?         I am not in the same

category as him.     Plus, the internet says WANG was stealing

information.     I am here openly, you can search my stuff.”

      37.   At this point in the interview, I asked GUAN whether I

could take his laptop, a Lenovo L450 (the “LENOVO L450”) with me

to search it offsite and bring it back to GUAN.           GUAN told me

that I could copy anything I wanted to while at the apartment,




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but that I could not take the LENOVO L450 with me. 14          GUAN did,

however, provide me with permission to take a Huawei phone and

an iPhone with me to search them as long as I returned them the

following day.     GUAN said that in early July, he gave the iPhone

to his girlfriend who “formatted” it.         GUAN also said he

received the Huawei phone from a friend in early July and had

“reset” it to protect his friend’s personal information.

      38.   When I began searching the LENOVO L450 in GUAN’s

presence, I noticed that it looked as though someone recently

deleted much of the computer’s data.         I asked GUAN why his

laptop looked so “clean.”       GUAN said that in early July, he

reinstalled the operating system on the LENOVO L450 because it

was old and running slow.       GUAN said he changed the operating

system from Windows to Ubuntu.

      39.   Toward the end of our interview, GUAN stated “I want

to reiterate, I didn’t lie, whatever you said, I answered

truthfully.”

      40.   The next day, July 18, I returned to GUAN’s apartment

with the phones that he allowed me to search and conducted

another brief, recorded interview with GUAN.          During the

interview, GUAN consented to a search of his Google drive

account, part of which I was able to download from the LENOVO




      14
       FBI personnel did not have the equipment necessary on
location to copy the laptop in its entirety.


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L450.      I also asked GUAN whether he had “any other thumb drives,

or hard drives, or external hard drives?” 15

      41.    In response, GUAN stated “No, usually, basically all

of my important information were on this.”          The FBI linguist

also asked GUAN specifically whether he had “any other storage

drives anywhere else.”      GUAN replied, “[n]o, everything is on

the computer, the important stuff.”

      42.    When other FBI agents and I searched GUAN’s apartment

on July 30, 2020 pursuant to a federal search warrant, we

discovered the following digital storage drives and devices

containing hard drives in the bedroom shared by GUAN and Z.Y.

(none of which were disclosed to the FBI by GUAN during his

interview):

             a.    One silver and black four-terabyte external hard

drive.      An FBI computer analyst later discovered that nearly all

of the data on the external hard drive was removed in its

entirety on an unknown date before it was searched on July 30.

             b.    One iPad Air 2.    The iPad Air 2 was logged into

GUAN’s WeChat account and contained photos of a Departure

Control Order that the U.S. Department of Homeland Security

served on GUAN at LAX on July 19 (as discussed further below).

GUAN’s WeChat account also “favorited” digital items, including

some dated in February of 2017, January of 2020, and March of

2020.



      15
       The FBI linguist translated my question as, “[d]o you
have any other drives? Like these . . .”


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             c.   One USB Storage Drive.      The USB drive had some

photos and documents that appeared to belong to YANG, but, based

on a rough Mandarin-language translation, it also had an

application with GUAN’s name addressed to the PRC Consulate in

Los Angeles seeking a return flight to China on July 2, 2020

(i.e. roughly two weeks before I interviewed GUAN); the document

also referenced GUAN’s Chinese Scholarship Council number.

             d.   One MacBook laptop.      The MacBook displayed Z.Y.’s

name on its screensaver.

       43.   There were two desks in the room shared by GUAN and

Z.Y.    The devices above (with the exception of the iPad Air 2)

were found on a desk that appeared to be used by Z.Y.            The desk

that appeared to be used by Z.Y. was wooden and had women’s

vitamins, a small purse, a number of paper items appearing to

belong to Z.Y., and her phone was plugged in and charging on the

desk.    The desk that appeared to be used by GUAN was white with

silver legs, had various photo clippings of GUAN, GUAN’s

passport, and other paper items appearing to belong to GUAN.

The iPad Air 2 was found on the bed in the room.

       44.   We also found the LENOVO L450 in the living room of

the apartment.     As detailed further below, on July 25, 2020,

several days after the FBI and CBP interviews (but before our

search of GUAN’s apartment), eyewitnesses and DNA analysis

indicate that GUAN threw an irretrievably damaged 2.5 inch hard

drive – which is capable of fitting inside the LENOVO L450 -

into a trash dumpster outside his apartment.          FBI personnel

seized the damaged hard drive on July 25.          At the time of our


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search on July 30, the LENOVO L450 had a different, functioning

2.5 inch Seagate Laptop Thin SSHD installed inside of it.

      E.    GUAN Falsely Tells CBP He Never Had Contact with the
            Chinese Consulate

      45.   Based on my review of a CBP incident log report

regarding an interview of GUAN at LAX, I know the following:

            a.      On July 19, 2020, GUAN attempted to board a

Xiamen Airlines flight from LAX to Xiamen.          GUAN was interviewed

by three CBP officers, two of whom are fluent in Mandarin and

provided translation assistance.          GUAN provided the LENOVO L450 16
and his Huawei phone to CBP for inspection.          CBP officers asked

GUAN if at any point during his stay in the United States he had

contact with anyone from the Chinese Embassy or Chinese

consulate.       GUAN stated that he had not.

      46.   GUAN’s statement to CBP that he never had contact with

the Chinese Embassy or Chinese consulate was false.            In fact,

Google records obtained pursuant to a federal search warrant

show that GUAN exchanged multiple emails with the Chinese

consulate in Los Angeles and the PRC Embassy in Washington D.C.

in June and July of 2020.       For instance, as detailed above, on

June 18, 2020, GUAN emailed the PRC Consulate in Los Angeles 17


     16 A CBP report describes the laptop as a “Lenovo T450,”
which I believe is a typographical error because I know that
GUAN owns a Lenovo L450, despite Lenovo having a model T450.
     17 The email address at which GUAN contacted the PRC
Consulate in L.A. was “educationsection@gmail.com.” In responses
to GUAN, consular employees used a signature line that stated in
English, “Consulate General of the People’s Republic of China in
Los Angeles, 433 Shatto Place, Los Angeles, CA 90020[.]”
Employees also used a signature block that stated, “Office of


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about the fact his “university in China” had been placed on the

“so called black list” by the U.S. government, and GUAN inquired

about flights back to China.        GUAN also emailed the Chinese

consulate on June 16, 2020 to ask about his options for flights

back to China because his July 2nd flight was cancelled.            In

addition, on June 18, 2020 GUAN emailed the PRC Embassy in

Washington D.C. 18 and asked whether the Embassy was organizing a

charter flight, and if they were, how he could get a ticket for

it.   On June 24, 2020, GUAN again emailed the Embassy to ask if

there was a charter flight scheduled.

      47.   Records obtained from GUAN’s Huawei phone also show

that he saved the consulate’s phone number in his contacts as

“LA Consulate.”     GUAN’s iCloud account also showed that he had

previously saved a total of three different phone numbers for

the PRC Consulate in Los Angeles.

      48.   In addition, Lyft receipts emailed to GUAN’s

girlfriend, Z.Y., (with whom GUAN lived at an apartment in

Irvine) show that Z.Y. took a Lyft from their Irvine apartment

to a street address across from the Chinese consulate in Los

Angeles at 12:12 p.m. on July 8, 2020.




Consular Protection and Overseas Chinese Affairs, Consulate
General of the P.R. China in Los Angeles.”
     18 The email address at which GUAN contacted the PRC Embassy
in Washington D.C. was “admin@sino-education.org.” PRC Embassy
employees responded to GUAN’s emails with a signature lined that
stated in English, “The Office of Educational Affairs of the
Chinese Embassy, 2600 Tilden Street, N.W., Washington, D.C.
2008.”


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      49.   Z.Y. was picked up from across the street from the

Chinese consulate approximately three hours later, at 2:56 p.m.

Digital maps provided to me by an FBI Operational Support

Technician showing the distance between GUAN and Z.Y.’s

apartment and the drop off location (according to Z.Y.’s Lyft

receipt) relative to the location of the Chinese consulate are

below:




      50.   Throughout July and August of 2020, FBI employees

witnessed GUAN and Z.Y. repeatedly share what appear to be

rideshare cars (e.g. those operated by Uber and Lyft).            In
addition, as noted above, in contrast to what GUAN told CBP

officers when he was attempting to leave the country, during his

recorded FBI interview on July 17, GUAN admitted traveling to

the Chinese consulate in early July.

      51.   At the conclusion of GUAN’s interview with CBP

officers at LAX, GUAN (who is in the United States temporarily




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pursuant to a visa, as noted above) was served with a Departure

Control Order pursuant to 8 C.F.R. § 215.          The Order stated that

CBP determined that GUAN’s departure would be prejudicial to the

interests of the United States.        The Order informed GUAN that he

had a right to contest the Order in a hearing and warned GUAN

that he could be “required . . . to submit for official

inspection all documents, articles, and other property in his

possession which are being removed from the United States upon,

or in connection with,” his departure.         Before GUAN left the

airport, federal agents from the Department of Homeland Security

also spoke with GUAN and asked him if he wanted to take the

opportunity to explain his side of things; the agents and GUAN

discussed the fact that multiple federal agencies spoke or

wanted to speak to GUAN, including the FBI.

       F.      After Being Denied Exit from the U.S., GUAN Appears to
               Throw a Destroyed Hard Drive into a Trash Dumpster
               Outside His Apartment

       52.     Following GUAN’s interviews at LAX, GUAN left the

airport and returned to his apartment in Irvine on July 19,

2020.       On July 25, 2020, FBI employees witnessed GUAN leave his

apartment unit (with nothing in his hands) and walk in a

circuitous fashion around the outside of the building.

Eventually, GUAN appeared to reach into his sock and throw a

small item into a trash dumpster outside the apartment.            Z.Y.

was standing some distance away from GUAN as he walked toward

the dumpster, and Z.Y. appeared to be looking around the parking

lot.



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      53.    After GUAN and Z.Y. returned inside the apartment, FBI

employees examined the dumpster.          Inside, they saw a small hard

drive next to a napkin surrounded by a few kitchen-sized trash

bags.      On July 25, 2020, FBI employees photographed the hard

drive as it appeared in the dumpster and seized the hard drive

as evidence:




      G.     FBI Analysis Shows that GUAN Likely Contributed DNA to
             the Damaged Hard Drive, which Fits the LENOVO L450

      54.    As noted above, on July 30, 2020, FBI agents executed

a search of GUAN’s apartment pursuant to a warrant issued by a

United States Magistrate Judge.        Only Z.Y. and M.Z. (GUAN and

Z.Y.’s roommate) were inside the apartment.          As soon as the

other FBI agents and I arrived outside GUAN’s building, GUAN –



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who was doing laundry in a common space outside of his unit

across the street – briskly walked toward the nearby U.C. Irvine

campus when he saw the FBI team arrive.          Agents – who also had a

warrant to search GUAN’s person - followed GUAN but were unable

to locate him that night.

      55.   During our search of GUAN’s apartment, we recovered

(among other items) the LENOVO L450, as noted above.            Based on

my review of the internal components of the laptop with a member

of the FBI Computer Analysis Response Team, I know it has a 2.5-

inch internal hard drive, the same type of hard drive FBI

personnel retrieved from the dumpster on July 25, 2020.

      56.   Additionally, based on my review of emails obtained

pursuant to a federal search warrant, I know that Z.Y. received

an email about rating her transaction from a vendor on Amazon

indicating that sometime before July 15, 2020, Z.Y. bought a 2.5

inch internal hard drive.       That same type of hard drive is

currently installed in the LENOVO L450.

      57.   I sent the hard drive retrieved by FBI personnel and

the LENOVO L450 to an FBI laboratory for DNA analysis on August
5, 2020.    The hard drive recovered from the dumpster and the

LENOVO L450 were swabbed to determine if DNA was present.

      57.   On August 21, 2020, I obtained a federal search

warrant for buccal samples to create DNA exemplars for GUAN and

Z.Y. to compare with the DNA samples recovered from the hard

drive and laptop described above.         On August 22, 2020, the

samples from GUAN and Z.Y. were sent to the FBI DNA laboratory

in Quantico, Virginia, for comparison.         According to the FBI


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laboratory’s report dated August 24, 2020, male and female DNA

was found on the LENOVO L450, and there is “very strong support”

to include both GUAN and Z.Y. as contributors of DNA to the

LENOVO L450.     In particular, the “likelihood ratio” 19 for GUAN on

the exterior of the LENOVO L450 is “78 septillion,” meaning it

is 78 septillion times more likely that GUAN and an unknown

source contributed DNA to the laptop than if two unknown sources

contributed to the laptop.

      58.   According the report, the damaged hard drive contained

male DNA and was interpreted as originating from two

individuals, although “[t]he presence of male DNA in a mixture

may limit the ability to determine if female DNA is also present

in that mixture.”      While there was limited support for excluding

Z.Y.’s DNA from the hard drive, it is 60 times more likely that

GUAN and an unknown, unrelated person are contributors than if

two unknown, unrelated people are contributors.           Thus, the

report concludes that there is “limited support” for including

GUAN as a contributor of DNA to the damaged hard drive.

      H.    The Hard Drive was Intentionally Destroyed

      58.   Based on my conversations with an FBI Computer

Scientist, I know that the hard drive seized by FBI employees on

July 25 was irreparably damaged and that all previous data

associated with the hard drive appears to have been removed

      19
       The likelihood ratio is a statistical approach that
compares the probabilities of observing the DNA results under
two alternative propositions. Calculations were performed using
the African American, Caucasian, Southeastern Hispanic, and
Southwestern Hispanic populations. The lowest calculated
likelihood ratio is reported.


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deliberately and by force.       In particular, the FBI Computer

Scientist told me the following:

            a.    In order to access this type of hard drive’s

platters, which stored the hard drive’s data, the platters must

be accessed from the top of the hard drive chassis, rather than

by force through the bottom of the hard drive chassis.            The top

of the hard drive chassis had “torx” screws to remove the cover,

which would provide access to the hard drive’s platters.

            b.    In this case, the top of the recovered hard drive

still had all of the torx screws in place, with one appearing to

be stripped.     The printed circuit board (“PCB”) on the bottom of

the hard drive was removed by force, leaving only a small

portion of it attached to the PCB connection point.            The

connection point on the bottom still had the torx screws in

place, indicating that whoever destroyed the hard drive did not

have access to the correct torx screw driver or was in a

circumstance that did not allow for it.

            c.    After removing the PCB, whoever destroyed the

hard drive would have gained access to the platters and spindle
by forcefully prying, cutting, or breaking the aluminum casing.

The platters were then removed, which could have been easily

shattered.    There would be no data left on the recovered hard

drive.    Additionally, the label on the top of the hard drive was

removed, which would have had the product information.            The

label is typically not removed by hard drive technicians,

because it is a quality control measure.          Hard drive technicians

normally access the screws under the part sticker by puncturing


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the sticker.     The technicians then usually leave a label

indicating that a certified technician accessed the hard drive.

            d.    In light of the foregoing facts, the FBI Computer

Scientist’s opinion is that the recovered hard drive appears to

have been intentionally destroyed by someone who wanted to

ensure that no data could ever be recovered from the device.

                         VIII.      CONCLUSION
      57.   For all the reasons described above, there is probable

cause to believe that GUAN committed a violation of 18 U.S.C.

§ 1519 (Destruction of Evidence).




                                             /S/
                                    Timothy D. Hurt, Special Agent
                                    Federal Bureau of Investigation



Attested to by the applicant in
accordance with the
requirements of Fed. R. Crim.
P. 4.1 by telephone on this
 26th day of _________,
____         August     2020.


THE HONORABLE ROZELLA A. OLIVER
UNITED STATES MAGISTRATE JUDGE




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                      EXHIBIT B
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Pence, George (USACAC)

From:                    Harland Braun <                     >
Sent:                    Friday, October 16, 2020 11:54 AM
To:                      Pence, George (USACAC)
Cc:                      `Bin Li
Subject:                 FW: Guan Lei



I noticed that you became counsel of record in the US v. Guan Lei matter. The
attached e‐mail request of October 8, 2020 has never been answered. Mr. Bin Lei
and I have been retained by the Lei family in China to represent their relative here
in LA. Mr. Li speaks Mandarin and I am a certified criminal specialist.

As our e‐mail indicates, the fact the public defender is doing an excellent job in
representing Mr. Lei is irrelevant under the Gonzalez‐Lopez case. After a half
dozen attempts, I finally briefly spoke to Mr. Lei yesterday. We set up a face‐to‐
face meeting with Mr Lei on Monday, the 19th, at 11 AM but have just been
informed by the government that Mr. Lei cannot be available and the government
cannot tell us when we can see our potential client.

Mr. Lei can decide to stay with the public defender or chose Mr. Li and myself as
his lawyers. But the decision is constitutionally required to be his. As of now, Mr.
Lei is being held incommunicado by the government despite his constitutional
right to choose counsel of his choice.

As an American, it is quite embarrassing that a citizen of the People’s Republic of
China is being mistreated by my government. I also doubt whether you can take an
admissible deposition of Ms. Zang while the issue of the representation of Mr.
Guan is left unresolved.
Sincerely,
Harland Braun




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Braun & Braun LLP


From: Harland Braun                             >
Sent: Thursday, October 8, 2020 1:07 PM
To: 'william.rollins@usdoj.com' <william.rollins@usdoj.com>
Cc: `Bin Li                                      >
Subject: Guan Lei

In United States v. Gonzalez‐Lopez (2006) 548 U.S. 140, the Supreme Court held
that defendant has the absolute right to a lawyer of his choice if he can afford it.
The Supreme Court reversed the conviction even though an appointed lawyer did
an impeccable job of defending Mr. Gonzalez‐Lopez.

In simple terms, a perfectly fair trial will be reversed if the defendant has been
denied his choice of counsel so matter how competent the appointed defense
attorney is. Mr. Li and I have been retained by the Lei family in China to defend
Guan. The Federal Public Defender as far as we can tell is doing a good job of
defending Mr. Lei. Under our law constitution, the choice is Mr. Lei’s.

Our government has detained Mr. Lei and is holding him incommunicado. Mr. Bin
Li have been trying to talk to our client over the phone for three days. The
government agents holding Mr. Lei have been uncooperative and dishonest with
us. The conduct of our government is despicable in this case. Do you really think
our remedy is a complaint to the government of the People’s Republic of China?
Or the local consulate?

As a representative of our government, I think you should either release Mr. Lei so
he can consult with counsel or Mr. Bin Li and I should be given access to our client.


Sincerely,
Harland Braun




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Braun & Braun LLP




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